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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA


VS                             4:09CR00166-004 SWW

DAVID CASH

                                      ORDER

                    On   February    4,       2010,   the   Court      granted   the

Government’s Motion for Examination to Determine Competency to

Stand Trial (18 U.S.C. § 4241) and for Determination of Existence

of Insanity at the Time of Offense              (18 U.S.C. § 4242).

      The United States Marshal for the Eastern District of Arkansas

has advised the Court that Defendant has been designated to FCI

Fort Worth Detention Center for the examination.                 Accordingly, the

United States Marshal is directed to transport Defendant to FCI

Fort Worth Detention Center forthwith.1

      Under 18 U.S.C. § 4247(b) and (c), Defendant is committed to

the   custody      of    the    Attorney       General,     or   his     authorized

representative, for a period not to exceed thirty (30) days for a

psychiatric or psychological examination under 18 U.S.C. § 4241 and

for a period not to exceed forty-five (45) days for psychiatric or

psychological examination under 18 U.S.C. § 4242.                        Both time

periods exclude any time consumed by transportation.



      1
      Based on 18 U.S.C. § 3161(h)(1)(H), time consumed by
transportation in excess of ten (10) days from today is presumed
unreasonable under the Speedy Trial Act.

                                          1
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     Based on 18 U.S.C. § 4247(c), the facility conducting the

examination will file a report with this Court with copies to

Defendant’s counsel and the Prosecution.

     Eleven (11) days from the date the examination report is

received by the Court and the parties, any party who requests a

hearing regarding any issues in the report or opposes the report

must file a motion for hearing or a motion in opposition, including

a concise statement of opposition to the report and supporting

authorities.

     If no motions are filed within eleven (11) days, the Court

will enter an Order adopting or rejecting the conclusions set forth

in the report, and the period of excludable delay will end.2

     IT IS SO ORDERED this 23RD day of February 2010.




                                           /s/Susan Webber Wright
                                           UNITED STATES DISTRICT JUDGE




     2
      18 U.S.C. § 3161(h)(1)(A).

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